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             IN THE UNITED STATES DISTRICT COURT
           FOR THE MIDDLE DISTRICT OF PENNSYLVANIA
EPSILON ENERGY USA, INC.,   :                 Civil No. 1:21-CV-00658
                            :
        Plaintiff,          :
                            :
        v.                  :
                            :
CHESAPEAKE APPALACHIA, LLC, :
                            :
        Defendant.          :                 Judge Jennifer P. Wilson
                                     ORDER
     AND NOW, on this 22nd day of September, 2021, for the reasons stated in

the accompanying memorandum, IT IS ORDERED AS FOLLOWS:

  1. Defendant’s motion to dismiss (Doc. 109) is GRANTED.

  2. Plaintiff’s amended complaint (Doc. 104) is DISMISSED without further

     leave to amend.

  3. Plaintiff’s motion for oral argument (Doc. 113) is DENIED.

  4. The telephone conference scheduled for September 23, 2021, at 10:30 a.m.

     is CANCELLED.

  5. The Clerk of Court is directed to close this case.

                                      s/Jennifer P. Wilson
                                      JENNIFER P. WILSON
                                      United States District Court Judge
                                      Middle District of Pennsylvania
